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                         Exhibit F
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                                 EXHIBIT F
Disputed Terms and Proposed Constructions

                                  GROUP A
Phrases in Dispute               Plaintiff’s Construction   Defendant’s Construction
“secured to”                     No Construction Required– “affixed or attached firmly so
                                 Plain and Ordinary Meaning it cannot be readily removed
                                                            from”
“to couple”                      No Construction Required– “to removably connect”
                                 Plain and Ordinary Meaning
“coupled to”                     No Construction Required– “removably connected to”
                                 Plain and Ordinary Meaning



                                  GROUP B
Phrases in Dispute               Plaintiff’s Construction   Defendant’s Construction
“said inner and outer tubes      No Construction Required– “the inner and outer tubes are
unsecured between said first     Plain and Ordinary Meaning not affixed or attached firmly
and second ends so that said                                except at their first and second
outer tube is not held in                                   ends so that the outer tube can
frictional contact with said                                move freely along the inner
inner tube so that said outer                               tube between the couplers”
tube can move freely along
said inner tube”
“said     inner    tube     is   No Construction Required– “the inner tube is not affixed
unsecured to said outer tube     Plain and Ordinary Meaning or attached firmly to the outer
between said first and                                      tube except at their first and
second ends so that said                                    second ends so that the outer
outer tube can move freely                                  tube can move freely along the
over said inner tube”                                       inner tube between the
                                                            couplers”
“said flexible inner tube        No Construction Required– “the flexible inner tube is not
unsecured to said flexible       Plain and Ordinary Meaning affixed or attached firmly to
outer tube between said first                               the flexible outer tube except
and second ends so that said                                at their first and second ends
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flexible outer tube can move                                   so that the flexible outer tube
freely over said flexible                                      can move freely over the
inner tube”                                                    flexible inner tube”




                                 GROUP C
Phrases in Dispute           Plaintiff’s Construction      Defendant’s Construction
“a first restrictor sleeve No Construction Required–       “device that restricts the
secured to said first end of Plain and Ordinary Meaning    expansion of the inner tube
said inner and said outer                                  and is affixed or attached
tubes” / “a first restrictor                               firmly so it cannot be readily
sleeve secured to said first
end of said flexible inner                                 removed from the first end of
tube and said flexible outer                               the inner tube and the first end
tube”                                                      of the outer tube” / “a device
                                                           that restricts the expansion of
                                                           the inner tube and is affixed or
                                                           attached firmly so it cannot be
                                                           readily removed from the first
                                                           end of the flexible inner tube
                                                           and the first end of the flexible
                                                           outer tube”
“a second restrictor sleeve     No Construction Required– “a device that restricts the
secured to said second end of   Plain and Ordinary Meaning expansion of the inner tube
said inner and said outer                                  and is affixed or attached
tubes” / “a second restrictor                              firmly so it cannot be readily
sleeve secured to said second
end of said flexible inner                                 removed from the second end
tube and said flexible outer                               of the inner tube and the
tube”                                                      second end of the outer tube” /
                                                           “a device that restricts the
                                                           expansion of the inner tube
                                                           and is affixed or attached
                                                           firmly so it cannot be readily
                                                           removed from the second end
                                                           of the flexible inner tube and
                                                           the second end of the flexible
                                                           outer tube”




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                                  GROUP D
 Phrases in Dispute             Plaintiff’s Construction    Defendant’s Construction
 “a first securing device No Construction Required–         “a device encompassing and
 securing said first restrictor Plain and Ordinary Meaning  affixing or attaching firmly
 sleeve, said outer tube, and                               the first restrictor sleeve, the
 said inner tube to said first                              first end of the outer tube, and
 coupler” / “a first securing
 device securing said first                                 the first end of the inner tube
 restrictor     sleeve,    said                             to the first coupler so they
 flexible outer tube, and said                              cannot be readily removed” /
 flexible inner tube to said                                “a device encompassing and
 first coupler”                                             affixing or attaching firmly
                                                            the first restrictor sleeve, the
                                                            first end of the outer tube, and
                                                            the first end of the inner tube
                                                            to the first coupler so they
                                                            cannot be readily removed”
 “a second securing device       No Construction Required– “a device encompassing and
 securing     said     another   Plain and Ordinary Meaning affixing or attaching firmly
 expansion restrictor sleeve,                               the second restrictor sleeve,
 said outer tube, and said
                                                            the second end of the outer
 inner tube to said second
 coupler” / “a second                                       tube, and the second end of the
 securing device securing                                   inner tube to the second
 said     second    expansion                               coupler so they cannot be
 restrictor    sleeve,    said                              readily removed” / “a device
 flexible outer tube, and said                              encompassing and affixing or
 flexible inner tube to said                                attaching firmly the second
 second coupler”
                                                            restrictor sleeve, the second
                                                            end of the outer tube, and the
                                                            second end of the inner tube to
                                                            the second coupler so they
                                                            cannot be readily removed”




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